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                                                              U.S. Department of Justice
                                                              United States Attorney
                                                              District of Maryland

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                                                              June 2, 2025


The Honorable Stephanie A. Gallagher
United States District Court for the District of Maryland
101 West Lombard Street
Baltimore, MD 21201

                      Re:          United States v. Lawrence Smith
                                   Criminal No. SAG-23-312

Dear Judge Gallagher:

        The parties write in response to the Court’s order at ECF No. 42. The government provided
Defendant Lawrence Smith with a plea offer on March 24, 2025. Later, on April 3, 2025, the
Defendant filed his unopposed motion to cancel the pretrial conference, trial dates, and set a
deadline for a joint status report to allow the parties to seek a potential pretrial resolution to this
case. ECF No. 41. On April 4, 2025, the Court ruled on that motion, rescinded the scheduling
order at ECF No. 26, and directed the parties to file a joint status report on June 2, 2025. ECF No.
42.

        Over the past nearly sixty (60) days, the parties have continued to engage in plea
negotiations but believe that they would benefit from an additional thirty (30) days to potentially
bring this case to a resolution. By the end of those thirty days, the parties plan to return to the
Court and request a date for a Rule 11 hearing or a new trial date. Please let us know if Your
Honor has any additional questions.

                                                              Very truly yours,

                                                              Kelly O. Hayes
                                                              United States Attorney

                                                                     /s/
                                                              Adeyemi Adenrele
                                                              Jared Beim
                                                              Assistant United States Attorneys
